       Case 23-01577-5-DMW                        Doc 40 Filed 09/08/23 Entered 09/09/23 00:34:36                                           Page 1 of 3
                                                               United States Bankruptcy Court
                                                              Eastern District of North Carolina
In re:                                                                                                                 Case No. 23-01577-DMW
TSR, LLC                                                                                                               Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0417-5                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Sep 06, 2023                                               Form ID: van064                                                            Total Noticed: 2
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Sep 08, 2023:
Recip ID                    Recipient Name and Address
cr                        + Michael K. Hovermale, 657 Keene Dr., Medford, OR 97504-8028

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                    Notice Type: Email Address                                  Date/Time                 Recipient Name and Address
db                        + Email/PDF: tsrlakegeneva@gmail.com
                                                                                        Sep 07 2023 00:19:00      TSR, LLC, 208 South Front Street, Unit 3,
                                                                                                                  Wilmington, NC 28401-4960

TOTAL: 1


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Sep 08, 2023                                            Signature:           /s/Gustava Winters




                                    CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on September 6, 2023 at the address(es) listed
below:
Name                                Email Address
Algernon L. Butler, III
                                    on behalf of Debtor TSR LLC albutleriii@butlerbutler.com,
                                    abutlerda@ecf.axosfs.com;al3bestcase@gmail.com;acct@butlerbutler.com;loriharvey@butlerbutler.com;ButlerAR74967@notify.
                                    bestcase.com

Benjamin E.F.B. Waller
                                    on behalf of Officer Justin William LaNasa bwaller@hendrenmalone.com
                                    jgorman@hendrenmalone.com;ygadalla@hendrenmalone.com

Brian Behr
      Case 23-01577-5-DMW              Doc 40 Filed 09/08/23 Entered 09/09/23 00:34:36                                     Page 2 of 3
District/off: 0417-5                                      User: admin                                                               Page 2 of 2
Date Rcvd: Sep 06, 2023                                   Form ID: van064                                                          Total Noticed: 2
                          on behalf of Bankruptcy Administrator Bankruptcy Administrator brian_behr@nceba.uscourts.gov
                          rick_hinson@nceba.uscourts.gov;lesley_dean@nceba.uscourts.gov;tanya_aycock@nceba.uscourts.gov;karen_cook@nceba.uscour
                          ts.gov

Brian D. Darer
                          on behalf of Creditor Wizards of the Coast LLC briandarer@parkerpoe.com
                          tracymiller@parkerpoe.com;janatasims@parkerpoe.com;domincacobb@parkerpoe.com

Jason L. Hendren
                          on behalf of Officer Justin William LaNasa jhendren@hendrenmalone.com
                          jgorman@hendrenmalone.com;ygadalla@hendrenmalone.com

John C Bircher, III
                          jcb@dhwlegal.com cweiss@dhwlegal.com;jbircher@ecf.inforuptcy.com;jcb@trustesolutions.net

John C Bircher, III
                          on behalf of Trustee John C Bircher III jcb@dhwlegal.com,
                          cweiss@dhwlegal.com;jbircher@ecf.inforuptcy.com;jcb@trustesolutions.net

John C. Bircher, III
                          on behalf of Trustee John C Bircher III jcb@dhwlegal.com, jbircher@ecf.inforuptcy.com;cweiss@dhwlegal.com

Marjorie K. Lynch
                          on behalf of Bankruptcy Administrator Bankruptcy Administrator mklynchjd@gmail.com
                          lynn_tingen@nceba.uscourts.gov;karen_hayes@nceba.uscourts.gov;lesley_cavenaugh@nceba.uscourts.gov;Tanya_aycock@nceb
                          a.uscourts.gov

Patricia M Adcroft
                          on behalf of Creditor Wizards of the Coast LLC pattyadcroft@parkerpoe.com janicephillips@parkerpoe.com

Rebecca F. Redwine
                          on behalf of Officer Justin William LaNasa rredwine@hendrenmalone.com
                          jgorman@hendrenmalone.com;ygadalla@hendrenmalone.com


TOTAL: 11
  Case 23-01577-5-DMW                       Doc 40 Filed 09/08/23 Entered 09/09/23 00:34:36         Page 3 of 3
VAN−064 Order to Show Cause − Rev. 01/06/2022

                            UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF NORTH CAROLINA
                                                  Wilmington Division

IN RE:
TSR, LLC                                                   CASE NO.: 23−01577−5−DMW
( known aliases: TSR Hobbies )
208 South Front Street, Unit 3                             DATE FILED: June 8, 2023
Wilmington, NC 28401
                                                           CHAPTER: 7
TaxID: 85−3179777




                                                     AMENDED
                                                ORDER TO SHOW CAUSE

IT IS ORDERED that Michael Hovermale appear at the time and place indicated below to show cause, if
any there be, as to why this claim should not be disallowed or other sanctions imposed for failure to:

File Redacted Proof of Claim

DATE:         Thursday, September 28, 2023
TIME:         10:00 AM
PLACE:        1003 S. 17th Street, Room 118, Wilmington, NC 28401

DATED: September 6, 2023

                                                               David M. Warren
                                                               United States Bankruptcy Judge
